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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )            8:07CR99
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
EDGAR CABRERA and                                  )
OMAR MARTINEZ,                                     )
                                                   )
                     Defendants.                   )


       This matter is before the court on the motion for an extension of time by defendant
Omar Martinez (Martinez) (Filing No. 18). Martinez seeks an additional sixty days in which
to file pretrial motions in accordance with the progression order (Filing No. 6). Martinez has
filed an affidavit wherein he consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act. Upon
consideration, the motion will be granted. Furthermore, the deadline for filing motions will
be extended for the co-defendant.
       IT IS ORDERED:
       Defendant Martinez's motion for an extension of time (Filing No. 18) is granted. All
defendants are given until on or before June 16, 2007, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between April
17, 2007 and June 16, 2007, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendants' counsel require
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 17th day of April, 2007.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
